21-51297-cag Doc#2-2 Filed 10/23/21 Entered 10/23/21 13:36:41 Exhibit A-2 Pg 1 of 5




                        EXHIBIT A-2
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                                CAUSE NO. 2021-08-0714-CVA

MATHESON TRI-GAS, INC.                       §             IN THE DISTRICT COURT
                                             §
     Plaintiff,                              §
                                             §
v.                                           §
                                             §
SPEED INDUSTRIAL GAS, LLC,                   §
JOSH    BALDAUF,   SCOTT                     §             ATASCOSA COUNTY, TEXAS
BURRIS, JASON FULCHER,                       §
BRIAN JACKSON, ROBERT                        §
LEAL, DANIEL OLIVAREZ, and                   §
RICHARD SCHOBINGER,                          §
                                             §
     Defendants.                             §             81ST/218TH JUDICIAL DISTRICT


        DEFENDANTS’ UNOPPOSED MOTION FOR ADMISSION PRO HAC VICE
                          FOR ADAM K. ISRAEL


         Defendants, through one of its attorneys of record, Julia W. Mann, a member of the State

Bar of Texas in good standing, moves this Court to permit Adam K. Israel to appear Pro Hac Vice

in the case representing the interests of SPEED INDUSTRIAL GAS, LLC, JOSH BALDAUF,

SCOTT BURRIS, JASON FULCHER, BRIAN JACKSON, ROBERT LEAL, DANIEL

OLIVAREZ, and RICHARD SCOBINGER (“Defendants”) so that he may appear before this

Court in all matters pertaining to this action. As grounds in support of this Motion, Defendants

state as follows.

                                                 I

         Defendants desire to have Adam K. Israel appear in this case as he is counsel for them in

connection with this case.


                                                                   Filed 8/23/2021 8:20 AM
                                                                   Margaret E. Littleton
                                                                   District Clerk
                                                                   Atascosa County, Texas
                                                                   Reviewed By: Margaret Littleton
29897515v.1
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                                                 II

          Adam K. Israel is a member of the law firm of Balch & Bingham, LLP and is admitted to

practice law before the state court of Alabama. As attested by Adam K. Israel in the attached

declaration, he is a member of the state bar of Alabama, is in good standing in every jurisdiction

where he has been admitted to practice, and there are no disciplinary proceedings pending against

him as a member of the bar in any jurisdiction. See Exhibit A. On behalf of the law firm of Jackson

Walker LLP, I hereby agree to be associated with non-resident attorney Adam K. Israel in this

case. I hereby represent and affirm to the Court that attorney Adam K. Israel possesses the requisite

character, integrity and professional abilities justifying his admission pro hac vice.

          WHEREFORE PREMISES CONSIDERED, Defendants through their counsel of record,

respectfully request that this Court grant this Motion and admit Adam K. Israel pro hac vice in this

matter.

                                              Respectfully submitted,

                                              JACKSON WALKER LLP
                                              112 E. Pecan, Suite 2400
                                              San Antonio, Texas 78205
                                              (210) 978-7700 – Phone
                                              (210) 978-7790 – Fax

                                              By: /s/ Julia W. Mann________________________
                                                      Julia W. Mann
                                                      State Bar No. 00791171
                                                      jmann@jw.com
                                                      Reagan M. Marble
                                                      State Bar No. 24087971
                                                      rmarble@jw.com

                                              ATTORNEYS FOR SPEED INDUSTRIAL GAS,
                                              LLC, JOSH BALDAUF, SCOTT BURRIS, JASON
                                              FULCHER, BRIAN JACKSON, ROBERT LEAL,
                                              DANIEL     OLIVAREZ,   and   RICHARD
                                              SCOBINGER

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29897515v.1
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                              CERTIFICATE OF CONFERENCE

        Counsel for Defendants and counsel for Plaintiffs conferred on August 22, 2021 by e-mail

regarding Defendants’ Motion for Admission Pro Hac Vice of Adam K. Israel, and Plaintiffs’

counsel has indicated that he is unopposed to the Motion.



                                              /s/ Julia W. Mann




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this day I electronically filed the foregoing pleading or other paper

with the Clerk of the Court using the ECF system, which sent notification of such filing to the

following:

Mike Seely
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                                              /s/ Julia W. Mann




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certificate of service that complies with all applicable rules.

Emily Kissler on behalf of Julia Mann
Bar No. 00791171
ekissler@jw.com
Envelope ID: 56536631
Status as of 8/23/2021 2:20 PM CST

Case Contacts

Name              BarNumber Email                     TimestampSubmitted Status

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Emily Kissler                ekissler@jw.com          8/23/2021 8:20:17 AM   SENT
